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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                        -v-                                             13-CR-428 (PAE)

 RAYMOND KORNEGAY,                                                           ORDER

                                       Defendant.


PAUL A. ENGELMAYER, District Judge:

       On October 6, 2020, the Court issued an order confirming receipt of a letter from pro se

defendant Raymond Kornegay, seeking the appointment of counsel for the limited purpose of

assisting him in pursuing an application for compassionate release. See Dkt. 119. In that order,

the Court granted Mr. Kornegay’s request and re-appointed, for that limited purpose, Sarah

Kunstler, Esq. to assist him. The Court also directed Ms. Kunstler to file, by Tuesday,

October 20, 2020, a memorandum of support of Mr. Kornegay’s application, and gave the

Government one week from that date to respond.

       To date, the Court has received no such submission. Accordingly, the Court directs Ms.

Kunstler, by Friday, October 23, 2020 at 5:00 p.m., to file a memorandum in support of Mr.

Kornegay’s application, or to notify the Court that she is unable to do so. The deadline for the

Government’s response is hereby adjourned to Friday, October 30, 2020.

       SO ORDERED.

                                                           PaJA.�
                                                     __________________________________
                                                           PAUL A. ENGELMAYER
                                                           United States District Judge
Dated: October 21, 2020
       New York, New York
